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STEVEN W. MYHRE

Attorney for the United States AN 99

Acting Under Authority Conferred by JAN 22 |

Title 28, United States Code, Section 515

JAMES E. KELLER CLERK US DISTRICT COURT
Assistant United States Attorney Ry, DISTRICT OF NEVADA

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Attorneys for the United States

UNITED STATES DISTRICT COURT

DISTRICT OF NEVADA
UNITED STATES OF AMERICA, Case No. 2:14 -f-O022- FAD “C10 H
Plaintiff,
vs PLEA AGREEMENT UNDER
, FED. R. CRIM. P. 11 (c)(1)(A) and
(B)
R. CHRISTOPHER READE,
Defendant.

 

 

Plaintiff United States of America, by and through the undersigned, defendant R.
Christopher Reade, and the defendant’s undersigned attorneys, respectfully submit this
Plea Agreement pursuant to Fed. R. Crim. P. 11(c)(1)(A) and (B).

I, SCOPE OF AGREEMENT

The parties to this Plea Agreement are the United States of America (also referred
to herein as “the government”) and R. CHRISTOPHER READE, the defendant. This
Plea Agreement binds the defendant and the United States Attorney’s Office for the
District of Nevada. It does not bind any other prosecuting, administrative, or regulatory
authority, the United States Probation Office, or the Court.

The Plea Agreement sets forth the parties’ agreement regarding the criminal

charge referenced in the Plea Agreement and applicable sentences, fines, restitution, and

 
 

 

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forfeiture. It does not control or prohibit the United States or any agency or third party
from seeking any other civil or administrative remedies directly or indirectly against the

defendant.

Il. DISPOSITION OF CHARGES AND WAIVER OF TRIAL RIGHTS

A. Guilty Plea. The defendant knowingly and voluntarily agrees to plead
guilty to the following charge set forth in the Information, filed by the United States
Attorney's Office, contemporaneous with the filing of the defendant’s voluntary and
knowing waiver of his right to a federal grand jury’s consideration of the charge set forth
in the Information, that is: Accessory After the Fact to Laundering of Monetary
Instruments; in violation of 18 U.S.C. § 3.

B. Waiver of Trial Rights. The defendant acknowledges that he has been
advised and understands that by entering a plea of guilty he is waiving -- that is, giving
up -- certain rights guaranteed to all defendants by the laws and the Constitution of the
United States. Specifically, the defendant is giving up:

1. The right to proceed to trial by jury on all charges, or to a trial by a
judge if the defendant and the United States both agree;

2, The right to confront the witnesses against the defendant at such a
trial, and to cross-examine them;

3. The right to remain silent at such a trial, with assurance that his
silence could not be used against him in any way;

4, The right to testify in his own defense at such a trial if he so chooses;

5. The right to compel witnesses to appear at such a trial and testify in
the defendant’s behalf: and

6. The right to have the assistance of an attorney at all stages of such
proceedings.

C, Withdrawal of Guilty Plea. The defendant will not seek to withdraw his

guilty plea after he has entered it in court.

 
 

 

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D, Additional Charges. The United States agrees not to bring any additional
charges against the defendant arising out of the investigation in the District of Nevada
which culminated in this Plea Agreement and based on conduct known to the United
States.

E. Tolling of Applicable Statute of Limitations. The United States and the
defendant have agreed, through the voluntary and knowing execution of a Tolling
Agreement dated July 3, 2012 (“Tolling Agreement”), and the subsequent execution
Addendums One through Eight thereto, to the tolling of the statute of limitations
applicable to the charges investigated and considered by the United States as to the
defendant in this case. The Tolling Agreement, with Addendums One through Eight
thereto, remains in full force and effect for this case and for this plea agreement.

Ill. ELEMENTS OF THE OFFENSE

Count: The elements of Accessory After the Fact to the Laundering of Monetary
Instruments, in violation of 18 U.S.C. § 3 are:

(1) From on or about February 15, 2007, continuing to on or about to August
21, 2007, the crime of laundering of monetary instruments in violation of Title 18,
United States Code, Section 1956(a)(1)(B)G) had been committed by Rick Young and
others;

(2) The defendant knew that this crime had been committed, and that Rick
Young and others had committed it; and

(3) The defendant thereafter intentionally received, relieved, comforted, or
assisted Rick Young in order to hinder and prevent his punishment for the crime
laundering of monetary instruments.

The elements of the underlying offense, Laundering of Monetary Instruments, in
violation of 18 U.S.C. § 1956(a)(1)(B)G), for the principal, Rick Young, are as follows:

(1) Young conducted or intended to conduct a financial transaction involving
property that represented the proceeds of a specified unlawful activity;

(2) Young knew that the property represented the proceeds of the specified

unlawful activity;

 
 

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(3) Young knew that the transaction was designed in whole or in part to
conceal or disguise the nature, location, source, ownership, and control of the proceeds of
the specified unlawful activity; and

(4) Young did something that was a substantial step toward committing the
crime.

IV. FACTS SUPPORTING GUILTY PLEA

A, The defendant will plead guilty because he is, in fact. and under the law,
guilty of the crime charged.

B. The defendant acknowledges that if he elected to go to trial instead of
pleading guilty, the United States could prove his guilt beyond a reasonable doubt. The
defendant further acknowledges that his admissions and declarations of facts set forth
below satisfy every element of the charged offense.

C. The defendant waives any potential future claim that the facts he admitted
in this Plea Agreement were insufficient to satisfy the elements of the charged offense.

D. The defendant admits and declares under penalty of perjury that the facts
set forth below are true and correct:

Unless stated otherwise, at all times relevant to the Information:

Background

1. Defendant R. Christopher Reade was a duly licensed attorney in the
State of Nevada, practicing business law in Las Vegas, Nevada.

2. Rick Young owned and operated a Nevada corporation known as
Global One Group, LLC (hereinafter “Global One”), a web-based company which
purported to train others how to trade in the FOREX.

3. FOREX was a term colloquially associated with the market
generated by trades in foreign currency futures contracts. Currency futures contracts
were generally traded through Futures Commission Merchants (“FCMs’), also referred
to as FOREX brokers or FOREX dealers.

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Underlying Money Laundering Conduct by Rick Young
4. As founder and CEO of Global One, Young advertised to the general

public that he was an experienced and highly successful trader in the FOREX market,
who could teach others his winning trading strategies and techniques. For a fee, Young
offered “memberships” in Global One where joining members gained access to Young’s
web-based live training seminars. During these seminars, Young claimed, among other
things, that he had developed an automated trading program that traded according to
his strategies simply by “flipping a switch.”

5. As Global One’s membership grew, Young constructed a scheme and
artifice to defraud its members of their money and property. As part of the scheme and
artifice, Young falsely and fraudulently represented that in return for “loans” made to
Global One, participant members would be paid high yield returns generated from
profits derived from trades made through his automated trading program. As a further
part of the scheme, Young fraudulently concealed from Global One members that, in
truth and in fact, the automated trading program did not exist as represented, that
payments of member loans were made from the proceeds of later-in-time loans from
other members and not from profits generated by Global One, and that the proceeds from
member loans were diverted to Young’s personal use and interests and away from Global
One’s business purposes or interests in the District of Nevada and elsewhere.

6. From 2006 to 2008, Young derived approximately $16 million in
proceeds from his fraudulent scheme.

Defendant’s Relationship with Global One and Rick Young

7. Beginning in February 2007, defendant Reade represented Global
One and Young in connection with transactions and litigation arising from Global One’s
business activities.

8. In March 2007, Young intended to purchase a FOREX broker, named
Trend Commodities (“Trend”), using proceeds derived from the “loans” from Global One
members. The purchase of Trend would allow Young to become a broker/dealer in

currency futures contracts.

 
 

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9. To disguise the source, ownership, and control of Global One’s “loan”
proceeds to be used for the purchase of Trend, Young authorized defendant Reade to
create a holding corporation called Way FX Corp., listing Reade as its Director, Secretary
and President. Thereafter, in or about April 2007, Young directed the transfer of
approximately $2,250,000 from Global One accounts to an account held by Way FX and
controlled by Reade for the purchase and capitalization of Trend. These transactions
constituted the unlawful laundering of monetary instruments by Young, in violation of
Title 18, United States Code, Section 1956(a)(1)(B)Q).

10. In April 2007, Reade, nominally on behalf of Way FX, signed an
agreement to purchase Trend.

Monitoring of Purchases of FOREX Brokers within the United States

11. The National Futures Association (“NFA”) is an independent
regulatory agency designated by federal regulations to regulate the practice of its
FOREX brokers/dealers in the United States and to enforce rules and regulations
designed to protect the trading public from fraud and deceitful and deceptive trading
practices in the FOREX.

12. The NFA is required to review and approve the purchase of any
FOREX broker in the United States. As part of that process, prospective purchasers
must undergo a background check and demonstrate that any funds used to purchase and
capitalize the broker are neither encumbered nor derived from fraud.

13. From on or about May 2007 to August 2007, and in the course of its
review and audit of the Trend purchase, NFA regulators conducted interviews of, and
meetings with, defendant Reade in the District of Nevada and elsewhere where he was
asked if Global One was involved in the purchase of Trend and if the funds for the
capitalization of Trend were in any way encumbered. Reade responded falsely in the
District of Nevada and elsewhere that: (a) he was unaware who owned Global One; (b)
Global One’s assets were not used to purchase Trend; (c) he was unaware how Global
One raised money; and (d) the funds in the Way FX accounts came from his personal

contributions and assets.

 
 

 

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14. Defendant Reade knew that his representations were false, and that
Young had committed the offense of money laundering by directing the transfer of money
to Way FX accounts for the Trend purchase. Defendant Reade further knew that, by his
misrepresentations to the NFA, he assisted Young in order to hinder the NFA’s
investigation of Young in connection with the Trend transaction and prevent the
punishment of Young for the crime of money laundering.

15. On August 21, 2007, in the District of Nevada, by check issued to
Reade & Associates, defendant Reade received $75,000 from Global One’s merchant
account for his services, including expenses, relating to Way FX and the purchase of
Trend.

All in violation of Title 18, United States Code, Section 3.

V. COLLATERAL USE OF FACTUAL ADMISSIONS

The facts set forth in Section IV of this Plea Agreement shall be admissible
against the defendant under Fed. R. Evid. 801(d)(2)(A) at sentencing for any purpose. If
the defendant does not plead guilty or withdraws his guilty plea, the facts set forth in
Section IV of this Plea Agreement shall be admissible at any proceeding, including a
trial, for impeaching or rebutting any evidence, argument or representation offered by or
on the defendant’s behalf. The defendant expressly waives all rights under Fed. R. Crim.
P. 11(f and Fed. R. Evid. 410 regarding the use of the facts set forth in Section IV of this
Plea Agreement.

VI. APPLICATION OF SENTENCING GUIDELINES PROVISIONS _

A, Discretionary Nature of Sentencing Guidelines. The defendant
acknowledges that the Court must consider the United States Sentencing Guidelines
USSG” or “Sentencing Guidelines”) in determining the defendant’s sentence, but that
the Sentencing Guidelines are advisory, not mandatory, and the Court has discretion to
impose any reasonable sentence up to the maximum term of imprisonment permitted by

statute.

 
 

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B. Offense Level Calculations. The parties stipulate to the following
calculation of the defendant’s offense level under the Sentencing Guidelines and

acknowledge that these stipulations do not bind the Court:

Accessory After the Fact to Money Laundering, in violation of 18 U.S.C. § 3:

Base offense level for Laundering of Monetary Instruments

USSG §§ 281.1(a)(2) 8
Specific Offense Characteristics — USSG § 2B1.1b)G)(D
More than $1 million but less than $2.5 million + 16
Reductions
Accessory After the Fact USSG § 2X3.1 - 6
Acceptance of Responsibility USSG § 3E1.1 - 3
USSG § 3E1.1
Adjusted Offense Level 15

The defendant acknowledges that the statutory maximum sentence limits the
Court’s discretion in determining the defendant’s sentence notwithstanding any
applicable Sentencing Guidelines provisions.

C. Acceptance of Responsibility. Under USSG § 3E.1.1{a), the government will
recommend that the defendant receive a two-level downward adjustment for acceptance
of responsibility unless he (a) fails to truthfully admit facts establishing a factual basis
for the guilty plea when he enters the plea; (b) fails to truthfully admit facts establishing
the amount of restitution owed when he enters his guilty plea; (c) fails to truthfully
admit facts establishing the forfeiture allegations when he enters his guilty plea; (d)
provides false or misleading information to the United States, the Court, Pretrial
Services, or the Probation Office; (ce) denies involvement in the offense or provides
conflicting statements regarding his involvement or falsely denies or frivolously contests
conduct relevant to the offense; (f) attempts to withdraw his guilty plea; (g) commits or
attempts to commit any crime; (h) fails to appear in court; or (i), if applicable, violates

the conditions of pretrial release.

 
 

 

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Under USSG § 3E1.1(b), the government will move for an additional one-level
downward adjustment for acceptance of responsibility before sentencing because the
defendant communicated his decision to plead guilty in a timely manner that enabled
the government to avoid preparing for trial and to efficiently allocate its resources.

D. Relevant Conduct

The parties understand that the Court may consider all other relevant conduct,
whether charged or uncharged, in determining the defendant’s applicable Sentencing
Guidelines range pursuant to USSG § 1B1.3, and whether to depart from that range.

E. Enhancements Adjustments Variances

Except as specifically set forth in this Plea Agreement, the parties agree not to
seek any further enhancements or upward adjustments, and not to seek any further
reductions or downward adjustments based on the offense conduct to which he is pleading
guilty and all conduct relevant to the offense conduct.

F. Criminal History Category. The defendant acknowledges that the Court
may base its sentence in part on the defendant’s criminal record or criminal history. The
Court will determine the defendant’s Criminal History Category under the Sentencing
Guidelines. At the time of this Plea Agreement, the parties are unaware of any criminal
history for the defendant.

G. Additional Sentencing Information. The stipulated Sentencing Guidelines
calculations are based on information now known to the parties. The parties may
provide additional information to the United States Probation Office and the Court
regarding the nature, scope, and extent of the defendant’s criminal conduct and any
aggravating or mitigating facts or circumstances. Good faith efforts to provide truthful
information or to correct factual misstatements shall not be grounds for the defendant to
withdraw his guilty plea.

The defendant acknowledges that the United States Probation Office may
calculate the Sentencing Guidelines differently and may rely on additional information it
obtains through its investigation. The defendant also acknowledges that the Court may

rely on this and other additional information as it calculates the Sentencing Guidelines

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range and makes other sentencing determinations, and the Court’s reliance on such
information shall not be grounds for the defendant to withdraw his guilty plea.
VII. APPLICATION OF SENTENCING STATUTES

A. Maximum Penalty. The maximum penalty for Accessory After the Fact
under 18 U.S.C. § 3 is a prison sentence of not more than one-half the maximum term of
imprisonment and a fine of not more than one-half the maximum fine prescribed for the
punishment of the principal, or both. The maximum term of imprisonment for the
principal for the offense for money laundering in violation of 18 U.S.C. § 1956(a)(1)(B)(i)
is 20 years, and the maximum fine for the principal for the offense of money laundering
in violation of 18 U.S.C. § 1956(a)(1)(B)G@) is $500,000 or twice the value of the property
involved in the transaction, whichever is greater. See 18 U.S.C. § 1956(a)(1)(B)Q).
Therefore, the maximum penalty for Accessory After the Fact under 18 U.S.C. § 3 in this
case is a prison sentence of 10 years and a fine of $250,000 or not more than the value of
the property involved in the transaction, whichever is greater.

B. Factors Under 18 U.S.C. § 3553. The Court must consider the factors set
forth in 18 U.S.C. § 3553(a) in determining the defendant’s sentence. However, the
statutory maximum sentence limits the Court’s discretion in determining the
defendant's sentence.

C. Additional Mandatory Sentencing Provisions. There is no mandatory
minimum sentence that must be imposed by statute in this case.

D. Parole Abolished. The defendant acknowledges that his prison sentence
cannot be shortened by early release on parole because parole has been abolished.

E. Supervised Release. In addition to imprisonment and a fine, the defendant
will be subject to a term of supervised release of up to 3 years. 18 U.S.C. § 3583(b).
Supervised release is a period of time after release from prison during which the
defendant will be subject to various restrictions and requirements. If the defendant
violates any condition of supervised release, the Court may order the defendant’s return

to prison for all or part of the term of supervised release, which could result in the

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defendant serving a total term of imprisonment greater than the statutory maximum
prison sentence of 10 years.

F, Special Assessment. The defendant will pay a $100.00 special assessment
at the time of sentencing.

VIII. POSITIONS REGARDING SENTENCE

The defendant reserves the right to argue pursuant to the sentencing factors set
forth under 18 U.S.C. § 3553(a) for a sentence, such as a sentence of probation, that is
below the Sentencing Guidelines range as calculated in this Plea Agreement. In any
event, the defendant will not seek a downward adjustment pursuant to any other
provision of the Sentencing Guidelines other than those reserved in this Plea Agreement.

The United States will recommend that the Court sentence the defendant to the
low-end of the Sentencing Guidelines range as calculated by this Plea Agreement, unless
(a) the defendant commits any act that could result in a loss of the downward
adjustment for Acceptance of Responsibility, or (b) the defendant argues for a sentence
that is below the Sentencing Guidelines range as calculated by this Plea Agreement.

If the defendant argues for a sentence pursuant to the factors set forth in 18
U.S.C, § 3553(a) that falls below the Sentencing Guidelines range as calculated by this
Plea Agreement, then the government is bound only to recommend a sentence within the
Sentencing Guidelines range as caleulated in this Plea Agreement.

The defendant acknowledges that the Court does not have to follow the
government’s or the defendant’s recommendation as to his sentence.

Notwithstanding its agreement to recommend a low-end sentence, the United
States reserves its right to defend any lawfully imposed sentence on appeal or in any
post-conviction litigation.

IX. RESTITUTION

The parties take the position that restitution is not applicable and the government
agrees not to seek an Order of Restitution for the offense conduct. The defendant
understands, however, that the decision whether restitution is appropriate under 18

U.S.C. § 3663 ultimately rests with the Court.

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X, ABANDONMENT

The defendant knowingly and voluntarily:

A. Agrees to the abandonment to the United States and the Internal Revenue
Service (hereinafter, “the United States and its agencies”) of $75,000 (hereinafter, the
“property”), which is the amount of United States currency the defendant withdrew from
Global One’s Merchant Account by check made payable to Reade & Associates on August
21, 2007, for the defendant’s assistance relating to Way FX and the purchase of Trend
Commodities;

B. Through this abandonment, acknowledges that he is disclaiming,
relinquishing, transferring, and terminating in favor of the United States and its
agencies any and all interest he has or may have in the property;

C. Through this abandonment, further acknowledges that no other person or
entity known to him has any ownership or possessory interest in the property, other
than the law firm of Reade & Associates, for which defendant has the authority to
disclaim and hereby knowingly and voluntarily so disclaims said interest on behalf of
Reade & Associates;

D. Through this abandonment, waives any right he may have to receive notice
of any administrative abandonment proceedings, any civil administrative forfeiture
proceedings, and any civil judicial forfeiture proceedings of the property (hereinafter,
“proceedings”) and further consents to the disposition of the property, or any portion
thereof, as the United States and its agencies deems appropriate;

E. Through this abandonment, waives service of process of any and all
documents filed in any proceedings concerning the property arising from the facts and
circumstances of this case;

F. Through this abandonment, waives any further notice to him, his agents, or
his attorney(s) regarding the abandonment and disposition of the property;

G. Through this abandonment, agrees not to file any claim, answer, petition, or

other documents in any proceedings concerning the property;

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H. Through this abandonment, waives the statute of limitations, the Civil
Asset Forfeiture Reform Act (“CAFRA”) requirements, Fed. R. Crim. P. 7 and 32.2, the
constitutional requirements, and the constitutional due process requirements of any
proceedings concerning the property;

I. Through this abandonment, waives all constitutional, legal, and equitable
defenses to the forfeiture or abandonment of the property in any proceedings, including
but not limited to constitutional or statutory double jeopardy defenses;

J. Through this abandonment, agrees to make no claim or other assertion of
any entitlement to the property or any objection to the disposition of the property in any
administrative, judicial, or quasi-judicial forum;

K. Through this abandonment, knowingly and voluntarily releases and forever
discharges the United States and its agencies and employee from any and all claims,
rights, or causes of action of any kind that he know has or may hereafter have on
account of, or in any way growing out of, the seizure, detention, custody, or abandonment
of the property;

L. Through this abandonment, agrees that forfeiture is immediately due and
payable and subject to immediate collection by the United States and its agencies;

M. Through this abandonment, agrees and understands the abandonment, the
civil administrative forfeiture, or the civil judicial forfeiture of the property shall not be
treated as satisfaction of any assessment, fine, restitution, cost of imprisonment, or any
other penalty the Court may impose upon the defendant in addition to the abandonment
or the forfeiture;

N. Acknowledges that the amount of the forfeiture may differ from, and may
be significantly greater than, the amount of restitution; and

O. Acknowledges that he has had an opportunity to obtain the advice of
counsel regarding the terms of this abandonment and has affixed his signature to this

plea agreement voluntarily.

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XI. FINANCIAL INFORMATION AND DISPOSITION OF ASSETS

Before or after sentencing, upon request by the Court, the United States, or the
Probation Office, the defendant will provide accurate and complete financial information,
submit sworn statements, and/or give depositions under oath concerning his assets and
his ability to pay.

XII. THE DEFENDANT’S ACKNOWLEDGMENTS AND WAIVERS

A. Plea Agreement and Decision to Plead Guilty. The defendant acknowledges
that:

(1) He has read this Plea Agreement and understands its terms and
conditions;

(2) He has had adequate time to discuss this case, the evidence, and this
Plea Agreement with his attorney;

(3) He has discussed the terms of this Plea Agreement with his attorney;

(4) The representations contained in this Plea Agreement are true and
correct, including the facts set forth in Section IV; and

(5) He was not under the influence of any alcohol, drug, or medicine that
would impair his ability to understand the Agreement when he considered signing this
Plea Agreement and when he signed it.

The defendant understands that he alone decides whether to plead guilty or go to
trial, and acknowledges that he has decided to enter his guilty plea knowing of the
charge brought against him, his possible defenses, and the benefits and possible
detriments of proceeding to trial. The defendant also acknowledges that he decided to
plead guilty voluntarily and that no one coerced or threatened him to enter into this Plea
Agreement.

B. Waiver of Appeal and Post-Conviction Proceedings. The defendant
knowingly and expressly waives: (a) the right to appeal any sentence imposed within or
below the applicable Sentencing Guideline range as calculated by this Plea Agreement;

(b) the right to appeal the manner in which the Court determined that sentence on the

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grounds set forth in 18 U.S.C. § 3742(a)(2)-(4); and (c} the right to appeal any other
aspect of the conviction or sentence and any order of restitution or forfeiture.

The defendant also knowingly and expressly waives all collateral challenges,
including any claims under 28 U.S.C. § 2255, to his conviction, sentence, and the
procedure by which the Court adjudicated guilt and imposed sentence, except non-
waivable claims of ineffective assistance of counsel.

The defendant reserves only the right to appeal any portion of the sentence that is
greater than the Sentencing Guidelines range as calculated by this Plea Agreement, or
an unlawful sentence imposed in violation of the law as provided in 18 U.S.C. §
3742(a)(1).

The defendant acknowledges that the United States is not obligated or required to
preserve any evidence obtained in the investigation of this case 15 days after the entry of
defendant’s judgment is entered in this case.

XIII. ADDITIONAL ACKNOWLEDGMENTS

This Plea Agreement resulted from an arms-length negotiation in which both

parties bargained for and received valuable benefits in exchange for valuable

concessions. It constitutes the entire agreement negotiated and agreed to by the parties.

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No promises, agreements or conditions other than those set forth in this agreement have

been made or implied by the defendant, the defendant’s attorney, or the United States,

and no additional promises, agreements or conditions shall have any force or effect

unless set forth in writing and signed by all parties or confirmed on the record before the

Court.

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STEVEN W. MYHRE
Attorney for the United States

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MARGARET SYANISH, Esq.
WRIGHT, STANISH & WINCKLER

 

R. CHRISTOPHER READE
Defendant

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